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UNITED STATES DISTRICT COURT »_ _r
SOUTHERN DISTRICT OF lNDlANA F§é F a
INDIANAPOLIS DIVISION y m ` *‘ ~J‘D

 

UNITED sTATEs oF AMERICA, )
Piaintiff, §
v. § cAUSE No.
MICAH HINES, §
Defendam. § 1 1 8 `cr' 1 5 4 WTL _DML
INDICTMENT
CoUNT 1

[ Convicted Felon in Possession of Ammunition - 18 U.S.C. § 922(g)(1) ]

The Grand Jury charges that:

On or about April 17, 2018, in the Southem District of Indiana, Indianapolis Division, the
Defendant, MICAH HINES, having been previously convicted of a crime punishable by
imprisonment for a term exceeding one year,

To Wit: Criminal Recklessness, in Marion County, Indiana, Superior Court, on or

about October lO, 2017,

did knowingly possess ammunition, to Wit: four rounds of Western, .32 auto ammunition, and
one round of Rem-UMC, .32-7.65 ammunition, said ammunition having been shipped and
transported in interstate and foreign commerce,

All in violation of Title 18, United States Code, Section 922(g)(l).

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FORFEITURE ALLEGATION

l. The allegations in Count One of this Indictment are re-alleged as if fully set forth
herein, for the purpose of giving the defendant notice of the United States’ intent to seek
forfeiture pursuant to Title 18, United States Code, Section 924, and Title 28, United States
Code, Section 2461.

2. If convicted of the offense set forth in Count One of this Indictment, MICAH
HINES shall also forfeit to the United States, pursuant to Title 18, United States Code, Section
924(d) and Title 28, United States Code, Section 246l(c), any firearm or ammunition involved in

or used in the offense of Which he is convicted.

A TRUE BILL:

 

 

FoREPERsoN ’J

JOSH J. MINKLER
United States Attomey

M. Kendra Klump
Assistant United States Attomey

